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         EXHIBIT 3
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                                                 U.S. PAT. NO. 10,022,623
                                         ACCUSED PRODUCT: SNACK BOX MICRO
                  JFCA’S LPR 4.2(a)(1) CHART RESPONSIVE TO HIT BOX’S INFRINGEMENT CLAIM CHART


 Claim Limitations       Accused Product (see Hit Box LPR 4.1(b)(3) Claim Charts)            JFCA RESPONSE
1. A hand operated                                                                  JFCA does not dispute that the
game controller for                                                                 Micro is a hand operated game
controlling a game                                                                  controller for controlling a game
console, said game                                                                  console.
controller
comprising:




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A. an all-push-button                                                           JFCA disputes that the Micro is an
game controller                                                                 “all-push-button game controller.”
surface being flat and                                                          When properly construed, the 623
extending                                                                       Patent is limited to arcade type
horizontally between                                                            buttons. The Micro does not utilize
left and right edges                                                            arcade type buttons but instead
and vertically                                                                  utilizes non-arcade buttons attached
between top and                                                                 directly to the PCB.
bottom edges, said
left and right edges                                                            JFCA also disputes that the Micro
extending inwardly to                                                           button configuration extends
a middle boundary                                                               “inwardly to a middle boundary
line,                                                                           line.” When properly construed, the
                                                                                “middle boundary line” of the 623
                                                                                Patent is in the middle. The “Middle
                                                                                Boundary Line” shown to the left is
                                                                                in fact to the left of the middle.

                                                                                JFCA further disputes that the Micro
                                                                                has the claimed “surface including a
                                                                                left hand position extending
                                                                                inwardly from said left edge to said
                                                                                middle boundary line and a right
                                                                                hand position extending inwardly
                                                                                from said right edge to said middle
                                                                                boundary line.” This portion of the
                                                                                limitation literally requires that the
                                                                                left and right edges meet in the
                                                                                middle, leaving no room for buttons
                                                                                or a “surface.” And there is no
                                                                                width.

                                                                                JFCA does not dispute the
                                                                                remaining portion of this limitation.




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B. said game                                                                    JFCA disputes that the “middle
controller surface                                                              boundary” limitation is met. See
including a left hand                                                           above.
position extending
inwardly from said                                                              JFCA disputes that Micro has the
left edge to said                                                               claimed buttons. See above.
middle boundary line
and a right hand                                                                JFCA disputes that the evidence
position extending                                                              presented shows that Micro has
inwardly from said                                                              “said left hand position including
right edge to said                                                              four movement push buttons and
middle boundary line,                                                           said right hand position including
said left hand                                                                  eight function buttons.” The
position including                                                              evidence presented to the left does
four movement push                                                              not support such allegations. The
buttons and said right                                                          function of each Micro button is in
hand position                                                                   fact determined by the specific game
including eight                                                                 that is loaded on the game console to
function buttons,                                                               which the controller is connected.
each of said buttons                                                            For example, the pressing of an
having a generally                                                              alleged “movement button” may not
circular shape;                                                                 result in movement. There is no
                                                                                evidence of a Micro being connected
                                                                                to a game console where the game
                                                                                console performs the “movements”
                                                                                alleged in the figure to the left.

                                                                                JFCA also disputes that the
                                                                                “surface” of the Micro includes four
                                                                                movement push buttons and said
                                                                                right hand position including eight
                                                                                function buttons. The Micro buttons
                                                                                are not attached to the “surface” in
                                                                                any way, as required by the 623
                                                                                Patent when properly construed.
                                                                                They are attached to the PCB.


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                                                       JFCA further disputes that the Micro
                                                       has the claimed “surface including a
                                                       left hand position extending
                                                       inwardly from said left edge to said
                                                       middle boundary line and a right
                                                       hand position extending inwardly
                                                       from said right edge to said middle
                                                       boundary line.” This portion of the
                                                       limitation literally requires that the
                                                       left and right edges meet in the
                                                       middle, leaving no room for buttons
                                                       or a “surface.” There is no width.

                                                       JFCA does not dispute the
                                                       remaining portion of this limitation.




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1) said four
movement push                                                                   JFCA disputes that the Micro has
buttons including a                                                             “said four movement push buttons
left movement button                                                            including a left movement button
disposed closest to                                                             disposed closest to said left edge, a
said left edge, a down                                                          down movement button disposed
movement button                                                                 between said left movement button
disposed between                                                                and said middle boundary line and
said left movement                                                              being the same distance to said top
button and said                                                                 edge as said left movement button, a
middle boundary line                                                            right movement button disposed
and being the same                                                              between said down movement
distance to said top                                                            button and said middle boundary
edge as said left                                                               line and being closer to said bottom
movement button, a                                                              edge than said left and down
right movement                                                                  movement buttons, and an up
button disposed                                                                 movement button at least partially
between said down                                                               disposed on said middle boundary
movement button and                                                             line and being closer to said bottom
said middle boundary                                                            edge than said right movement
line and being closer                                                           button.”
to said bottom edge
than said left and                                                              JFCA disputes that the “middle
down movement                                                                   boundary” limitation is met. See
buttons, and an up                                                              above.
movement button at
least partially                                                                 JFCA disputes that Micro has the
disposed on said                                                                claimed buttons. See above.
middle boundary line
and being closer to                                                             JFCA disputes that Micro has the
said bottom edge than                                                           alleged “movement buttons” located
said right movement                                                             between the left edge and “Middle
button, wherein said                                                            Boundary” because the left and right
left, right, and down                                                           edges meet at the “Middle
movement buttons                                                                Boundary” according to the claim
form an arc-shape                                                               language.
layout and said up
movement button
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forms an elliptical-                                                            JFCA also disputes that the evidence
shape layout with                                                               presented shows that Micro has four
said arc-shape layout;                                                          movement push buttons. The
                                                                                evidence presented to the left does
                                                                                not support such allegations. The
                                                                                function of each Micro button is in
                                                                                fact determined by the specific game
                                                                                that is loaded on the game console to
                                                                                which the controller is connected.
                                                                                For example, the pressing of an
                                                                                alleged “movement button” may not
                                                                                result in movement. There is no
                                                                                evidence of a Micro being connected
                                                                                to a game console where the game
                                                                                console performs the “movements”
                                                                                alleged in the figure to the left.

                                                                                JFCA does not dispute any
                                                                                remaining portions of this limitation.




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2) said eight function                                                           JFCA disputes that the Micro has
buttons including a                                                              “said eight function buttons
top row of four                                                                  including a top row of four function
function buttons and                                                             buttons and a bottom row of four
a bottom row of four                                                             function buttons wherein each of
function buttons                                                                 said rows of function buttons
wherein each of said                                                             includes a first function button and a
rows of function                                                                 second function button spaced by a
buttons includes a                                                               pair of middle function buttons,
first function button                                                            wherein said middle function
and a second function                                                            buttons are disposed closer to said
button spaced by a                                                               top edge than said first and second
pair of middle                                                                   function buttons.”
function buttons,
wherein said middle                                                              JFCA disputes that the “middle
function buttons are                                                             boundary” limitation is met. See
disposed closer to                                                               above.
said top edge than
said first and second                                                            JFCA disputes that Micro has the
function buttons, and                                                            claimed buttons. See above.
wherein said first row
of function buttons                                                              JFCA disputes that Micro has the
are disposed                                                                     alleged “function buttons” located
vertically and linearly                                                          between the right edge and “Middle
adjacent to said                                                                 Boundary” because the left and right
second row of                                                                    edges meet at the “Middle
function buttons;                                                                Boundary” according to the claim
                                                                                 language.

                                                                                 JFCA also disputes that the evidence
                                                                                 presented shows that Micro has
                                                                                 eight function buttons. The evidence
                                                                                 presented to the right does not
                                                                                 support such allegations. The
                                                                                 function of each button is in fact
                                                                                 determined by the specific game that
                                                                                 is loaded on the game console to
                                                                                 which the controller is attached.
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                                                                               There is no evidence of a Micro
                                                                               being connected to a game console
                                                                               where the game console performs
                                                                               “functions” with the pressing of
                                                                               each of the eight buttons shown to
                                                                               the left.

                                                                               JFCA does not dispute any
                                                                               remaining portions of this limitation.


3) said up movement                                                            For the above reasons, which are
button is positioned                                                           incorporated herein by reference,
below said first                                                               JFCA disputes that the evidence
function buttons and                                                           presented shows that the Micro has
said right movement                                                            the alleged movement and function
button, said first                                                             buttons, much less such buttons
function buttons and                                                           orienteds around a “middle
said right movement                                                            boundary line.” JFCA also disputes
buttons being                                                                  that Micro has the claimed buttons at
adjacent to said                                                               all.
middle boundary line
so that said up                                                                JFCA does not dispute any
movement button can                                                            remaining portions of this limitation.
be activated with a
user's left-hand
thumb or the user's
right-hand thumb
with the left hand
positioned directly
over said movement
buttons and the right
hand positioned
directly over said
function buttons as
described in
limitations B.1) and
B.2) above; and
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C. a connection                                                                JFCA disputes that the evidence
means between said                                                             presented shows that the Micro has
push buttons and said                                                          the claimed “connection means.” Hit
game console,                                                                  Box’s use of the word “means”
wherein control                                                                presumtively makes this limitation a
signals are sent from                                                          means-plus-function term limited to
said plurality of                                                              the structure disclosed in the
buttons to said game                                                           specification of the 623 Patent. The
console via said                                                               evidence to the left fails to provide
wireless or wired                                                              the required comparison between the
connection means as                                                            alleged connection means of the
said plurality of                                                              Micro and the structure of the
buttons is pushed by                                                           function means disclosed in the 623
the user.                                                                      Patent.

                                                                               JFCA further disputes the evidence
                                                                               presented relates to Micro. It also is
                                                                               optional. It also fails to account for
                                                                               the fact that the Micro does not send
                                                                               control signals in all situations
                                                                               where buttons are pressed, such as
                                                                               when certain buttons are pressed at
                                                                               the same time and when the Micro is
                                                                               in the LED edit mode.

                                                                               JFCA does not dispute any
                                                                               remaining portions of this limitation.




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2. The hand operated                                                            JFCA refers to and incorprates by
controller as in claim                                                          reference its above responses
1 wherein said                                                                  including but not limited to its
connection means is a                                                           response regarding the alleged
wire connection                                                                 “connection means.”
means.
                                                                                JFCA does not dispute any
                                                                                remaining portions of this claim.




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3. The hand operated                                                            JFCA refers to and incorprates by
controller as in claim                                                          reference its above responses
1, wherein said                                                                 including but not limited to its
connection means is                                                             response regarding the alleged
USB cable.                                                                      “connection means.”

                                                                                JFCA does not dispute any
                                                                                remaining portions of this claim.




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5. The hand operated                                                            JFCA refers to and incorprates by
controller as in claim                                                          reference its above responses
1 further comprising                                                            including but not limited to its
a game controller                                                               response regarding the alleged
printed circuit board                                                           “connection means.”
connected between
said plurality of push                                                          JFCA disputes that the Micro
buttons and said                                                                includes a “printed circuit board
wireless or wired                                                               connected between said plurality of
communication                                                                   push buttons and said wireless or
means.                                                                          wired communication means” As
                                                                                noted above, the Micro buttons are
                                                                                attached directly to the PCB – there
                                                                                is no separate connection between
                                                                                the buttons and the PCB as is the
                                                                                case with the Arcade buttons of the
                                                                                623 Patent.

                                                                                JFCA does not dispute any
                                                                                remaining portions of this claim.




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6. The hand operated                                                           JFCA refers to and incorprates by
controller as recited                                                          reference its above responses.
in claim 1 wherein
said hand operated                                                             JFCA disputes that the evidence to
controller is box                                                              the left shows that Micro has a
shaped.                                                                        “box” shape. Micro has rounded
                                                                               edges while boxes do not.

                                                                               To the extent the refrenced “box
                                                                               shape[]” refers to the left and right
                                                                               edges meeting at the “middle
                                                                               boundary,” Micro is not box shaped
                                                                               for this reason as well.

                                                                               JFCA does not dispute any
                                                                               remaining portions of this claim.




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7. The hand operated                                                              JFCA refers to and incorprates by
controller as recited in                                                          reference its above responses.
claim 1 wherein said
buttons are circular                                                              JFCA does not dispute any
shaped.                                                                           remaining portions of this claim.




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8. The hand operated                                                              JFCA refers to and incorprates by
controller as recited in                                                          reference its above responses.
claim 1 wherein said
movement buttons are                                                              JFCA disputes that the alleged
spaced from said left                                                             movement buttons “are spaced from
edge at least an                                                                  said left edge at least an expanse of a
expanse of a distance                                                             distance between said left movement
between said left                                                                 button and said right movement
movement button and                                                               button to define a flat surface for
said right movement                                                               resting of a user’s palm.” The Micro
button to define a flat                                                           is too small to provide a surface for
surface for resting of a                                                          resting an adult user’s palm, as the
user's palm.                                                                      claim requires.

                                                                                  JFCA does not dispute any
                                                                                  remaining portions of this claim.




9. The hand operated                                                              JFCA refers to and incorprates by
controller as recited                                                             reference its above responses.
in claim 7 wherein
said up button is the                                                             JFCA does not dispute any
largest button.                                                                   remaining portions of this claim.




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10. A hand operated                                                          See above responses to claim 1,
game controller for                                                          which JFCA hereby incorporates by
controlling a game                                                           reference.
console, said game
controller                                                                   JFCA does not dispute any
comprising:                                                                  remaining portions of this claim.




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an all-push-button                                                              See above responses to claim 1,
game controller                                                                 which JFCA hereby incorporates by
surface extending                                                               reference.
horizontally between
left and right edges                                                            JFCA further disputes that the
and vertically                                                                  evidence establishes that each
between top and                                                                 element of claim 10 is met, as the
bottom edges, said                                                              “consisting of” language precludes
left and right edges                                                            the existence of not-claimed buttons.
extending inwardly to                                                           The Micro has additional buttons at
a middle boundary                                                               the left top edge as shown in the
line, said controller                                                           figure to the left.
surface consisting of:
                                                                                JFCA does not dispute any
                                                                                remaining portions of this claim.




Four movement push                                                              See above responses to claim 1,
buttons including a                                                             which JFCA hereby incorporates by
left movement button                                                            reference.
disposed closest to
said left edge, a down                                                          JFCA does not dispute any
movement button                                                                 remaining portions of this claim.
disposed between
said left movement
button and said
middle boundary line
and being the same
distance to said top
edge as said left
movement button, a
right movement
button disposed
between said down

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button and said
middle boundary line
and being closer to
said bottom edge than
said left and down
movement buttons,
and an up movement
button at least
partially disposed on
said middle boundary
line and being closer
to said bottom edge
than said right
movement button,
wherein said left,
right, and down
movement buttons
form an arc-shape
layout and said up
button forms and
elliptical-shape
layout with said arc-
shape layout;




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eight function buttons                                                          See above responses to claim 1,
including a top row                                                             which JFCA hereby incorporates by
of four function                                                                reference.
buttons and a bottom
row of four function                                                            JFCA does not dispute any
buttons wherein each                                                            remaining portions of this claim.
of said rows of
function buttons
includes a first
function button and a
second function
button spaced by a
pair of middle
function buttons,
wherein said middle
function buttons are
disposed closer to
said top edge than
said first and second
function buttons and
said first row of
function buttons is
disposed between
said second row of
function buttons from
said top edge.




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12. The hand operated                                                             See above responses to claims 1 and
controller as recited in                                                          10, which JFCA hereby incorporates
claim 10 including a                                                              by reference.
PCB configured to
operate with the game                                                             JFCA does not dispute any
console.                                                                          remaining portions of this claim.




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